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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                                            )
       Plaintiff,                           )
                                            )
               v.                           )      No. 4:18CR966 HEA
                                            )
LAMARR PEARSON,                             )
                                            )
       Defendant.                           )

                                            ORDER

       IT IS HEREBY ORDERED that as there is not suitable temporary medical confinement

for Defendant Lamarr Pearson, Defendant is to be housed in the custody of the Bureau of Prisons

at MCFP Springfield until he is sentenced and then remanded to the custody of the Bureau of

Prisons for service of his sentence.

       Dated this 18th day of June, 2019.




                                            ___________________________________
                                                HENRY EDWARD AUTREY
                                              UNITED STATES DISTRICT JUDGE
